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  10                   CENTRAL DISTRICT OF CALIFORNIA
  11
       JOSE ANTONIO FRANCO-                )   Case No. 10-CV-02211 DMG (DTBx)
  12   GONZALEZ, et al.,                   )
                                           )   DEFENDANTS’ SUR-REPLY RE:
  13    Plaintiffs-Petitioners,            )
                                           )   PLAINTIFFS’ DISCOVERY MOTION
  14                    v.                 )
                                           )   Honorable Dolly M. Gee
  15   CHAD WOLF, Acting Secretary,        )
       Department of Homeland Security, et )
  16   al.,                                )
                                           )
  17    Defendants- Respondents,           )
                                           )
  18   ____________________________        )
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    1                                  INTRODUCTION
    2        On November 8, 2019, Plaintiffs moved to reopen discovery to establish

    3 noncompliance with the Court’s orders. ECF Dkt. No. 1050. Defendants responded
    4 in opposition on December 4, 2019, attaching over 6,000 pages of medical records,
    5 records of immigration court proceedings and transcripts from those proceedings.
    6 ECF Dkt. No. 1057. Plaintiffs replied on December 11, 2019. ECF Dkt. No. 1061.
    7 Plaintiffs’ reply relies on new evidence in the form of the declaration of Kelly Wells,
    8 ECF Dkt. No. 1064, and new argument, consisting of several pages of legal
   9 argument based on the records filed along with Defendants’ opposition. A hearing
  10 on Plaintiffs’ motion was noticed for December 20, 2019, but the Court took the
  11 hearing off calendar on December 18, 2019. On December 30, 2019, the Court
  12 granted Defendants’ ex parte application to file a sur-reply to respond to “new
  13 materials raised for the first time in Plaintiff’s reply.” ECF Dkt. 1069.
  14       The Court should deny Plaintiffs’ motion. First, Plaintiffs’ citations to the

  15 records: (1) improperly question the decisions and diagnoses of the same qualified
  16 mental health providers that the Implementation Plan Order entrusts with class
  17 identification, (2) improperly deem as conclusive to class membership past
  18 diagnoses of mental health conditions – although no such criteria is in the
  19 Implementation Plan Order, and (3) improperly reinterprets class triggering
  20 language requiring the exhibition of active symptoms with reports of those
  21 symptoms. Second, Plaintiffs’ reliance on the newly filed declaration of Ms. Wells
  22 simply fails to support Plaintiffs’ argument that anything has changed with regard to
  23 ICE’s compliance with the Implementation Plan Order.
  24                                      ARGUMENT
     II.   PLAINTIFFS’ ADDITIONAL ARGUMENTS AND RECORD
  25       CITATIONS FAIL TO SUPPORT SIGNIFICANT QUESTIONS
  26       REGARDING DEFENDANTS’ COMPLIANCE WITH THE
           IMPLEMENTATION PLAN ORDER.
  27
           In their reply, Plaintiffs selectively cite to the mental health records filed by
  28
     Defendants in an attempt to meet their burden that there are significant questions

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    1 about Defendants’ compliance with the Court’s orders. Plaintiffs’ new citations and
    2 arguments fail, and they are undermined by the fact that Plaintiffs must reinterpret
    3 key provisions of the Implementation Plan Order and challenge the professional
    4 judgments of Qualified Mental Health Providers (“QMHP”) to support their
    5 allegations of noncompliance.
    6        Contrary to these arguments, Defendants respond that first, a mere diagnosis
    7 of one of the six enumerated conditions is insufficient to support class membership
    8 because the Implementation Plan Order requires that a QMHP “diagnose[] the
    9 detainee as demonstrating significant symptoms of one of the following . . . .” ECF
  10 Dkt. No. 786 at 7 (emphasis added). Second, an individual is a class member if they
  11 “exhibit[] . . . active psychiatric symptoms or behavior,” including “active
  12 hallucinations” and “suicidal ideation and/or behavior.” ECF Dkt. No. 786 at 7
  13 (emphasis added). U.S. Immigration and Customs Enforcement (“ICE”) does not
  14 argue that a QMHP must observe the patient exhibiting an auditory hallucination
  15 during an evaluation in order for the QMHP to identify the patient is exhibiting
  16 active hallucinations. Instead, due to the transient nature of auditory hallucinations,
  17 a QMHP may require multiple Mental Health Assessments (“MHAs”) to assess the
  18 patient before being able to determine that a patient is actually exhibiting active
  19 hallucinations in a manner that would meet the definition of a serious mental class
  20 membership definition. This is consistent with Dr. Piasecki’s conclusions, see ECF
  21 Dkt. No. 905-3 at 9 (“mental health assessment requires a combination of direct
  22 questioning and behavioral observation to obtain complete and accurate data about
  23 an individual’s mental and emotional state.”), and Defendants’ previous responses
  24 to the same line of argument. See, e.g., ECF Dkt. No. 948 at 12-13 & n.17; ECF Dkt.
  25 No. 940-9 at 5. Further, given the fluidity of mental competency and the nuanced
  26 nature of suicidal ideation and behavior, a QMHP may require multiple MHA
  27 sessions assessing the patient before being able to determine that a patient is actually
  28 exhibiting suicidal ideation and/or behavior that would meet the medical definition


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    1 of the class definition. Plaintiffs do not assert that the screening procedures required
    2 by the Implementation Plan Order were not followed; instead, they appear to be
    3 improperly questioning the professional clinical impressions and diagnoses of the
    4 very same qualified mental health providers that the Implementation Plan Order
    5 entrusts with class identification. Such “second guessing” by laypeople has never
    6 been the purpose of the Implementation Plan Order.
    7        As Defendants demonstrate in the following case-specific discussions,
    8 Plaintiffs omit key facts and findings from individual mental health records that are
    9 fatal to Plaintiffs’ allegations of noncompliance. The Court should therefore deny
  10 Plaintiffs’ motion to reopen discovery.
  11      A. Discussion Regarding XXX-XXX-402.
  12         Despite a long history of reporting auditory hallucinations, ICE screeners and
  13 QMHPs have diligently followed up on those reports and consistently found this
  14 individual to be oriented and not to meet the class criteria.
  15         Plaintiffs’ reply relies on Defendants’ medical records to argue that this
  16 individual arguably met the class criteria because he reported hallucinations and
  17 voices on May 5, 2017. See ECF Dkt. No. 1060-4 at 386. Plaintiffs omit that during
  18 the May 5, 2017, screening, the QMHP that he was oriented, and that both his
  19 attention level and thought process were within normal limits. Id. at 387. When a
  20 QMHP followed up with the individual two days later based on the individual’s
  21 reports of suicidal ideations and possible auditory hallucinations, the QMHP noted
  22 that “[h]e denies current AH but relates hearing voices two days ago,” id. at 232.
  23 The QMHP found him to be oriented, his thought process to be logical and presented
  24 in an orderly fashion, and his thought content to be not paranoid, and found as a
  25 result that the detainee did not meet the SMI criteria and did not present any active
  26 symptoms. See id. at 231-32.
  27         Plaintiffs cite to this individual’s June 15, 2017 assessment to reference that
  28 the “QMHP reported that Pt. does endorse hearing voices occasionally . . . . Notably,


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    1 he appeared to be constantly looking around the room.” Id. at 218. Plaintiffs omit
    2 the QMHP’s notations that it was unclear whether this is related to hypervigilance
    3 or responding to internal stimuli, that the patient denied current auditory
    4 hallucinations or command auditory hallucinations that “despite issues, pt. was able
    5 to calm self and left interview in no acute distress,” and that the patient appeared to
    6 be oriented and noted “no issues” with his thought process. See id. At a June 16,
    7 2017 follow-up, the QMHP found that the patient did not meet the SMI criteria and
    8 did not have acute symptoms. See id. at 213. In the Mental Status Exam, the QMHP
    9 found the patient to be oriented, his thought content to be “not paranoid” and his
  10 through process to be logical and presented in an organized fashion. See id.
  11         Plaintiffs cite to this individual’s August 19, 2017 assessment to question how
  12 the QMHP could note that he had not experienced auditory hallucinations in three
  13 days, stated that three days ago he kept hearing people arguing, but ultimately
  14 reported that the individual has no auditory or visual hallucinations. See id. at 166-
  15 67. Plaintiffs omit that the QMHP concluded that the patient was alert and oriented,
  16 did not observe any auditory or visual hallucinations, and that the individual’s
  17 thought content was without suicidal ideation or delusion. See id. at 167. Further, in
  18 subsequent visits, a QMHP found the individual to be oriented, with no perceptual
  19 disorders or hallucinations observed or reported, with no suicidal ideation or
  20 behavior observed or reported and with an appropriate thought content and process.
  21 Id. at 159-61 (8/20/17); 149-51 (8/21/17); 140-42 (8/22/17); 133-35 (8/30/17).
  22         Plaintiffs cite to this individual’s October 19, 2017 screening for the
  23 proposition that an initial screening recorded that “Patient admits to hearing voices.
  24 Last heard these voices last night. Patient states the voices are arguing.” Id. at 370.
  25 Plaintiffs omit that the screener referred the individual to a mental health provider
  26 and observed that the patient was oriented, not agitated and was able to focus and
  27 concentrate. See id. at 370-71.
  28


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    1        Plaintiffs cite to this individual’s June 14, 2018 assessment for a QMHP’s
    2 report that the individual reported that he hears voices “ever since my friend was
    3 killed,” around 2005. Id. at 95. Plaintiffs omit that the individual did not know what
    4 the voices were saying and was referred for a mental health follow-up. See id. at 95,
    5 97. Further, in the Mental Status Exam, the QMHP also observed that the individual
    6 was oriented as to place, month, and year, and was aware that his immigration case
    7 was on appeal. See id. at 96. The QMHP also noted while the individual was initially
    8 inattentive with infrequent eye contact; however, he was more attentive with more
    9 consistent eye contact as the session progressed. See id. at 97. At a prior mental
  10 health session, the QMHP found no perceptual disorders and found the patient alert
  11 and oriented, with significant improvement in his ADHD due to his medication. See
  12 id. at 98-99 (5/17/18). At a later session, the QMHP noted that the patient reports
  13 occasional auditory hallucinations, but that “[t]here was no overt evidence of current
  14 AH.” Id. at 92-94 (7/5/18).
  15         Plaintiffs cite to this individual’s September 19, 2018 examination for the
  16 proposition that the individual “[s]tates that he has been hearing voices in last 3 wks,
  17 occurring at night, several times during the day and when alone.” Id. at 351.
  18 Plaintiffs omit that the screener referred the individual for a mental health follow up.
  19 See id. at 355. The screener also observed that the individual’s “cognitive function
  20 intact, cooperative with exam, good eye contact, judgement and insight good,
  21 mood/affect full range, no auditory or visual hallucinations, speech clear, thought
  22 content without suicidal ideation, delusions.” Id. at 354.
  23         Plaintiffs cite to this individual’s November 23, 2018 assessment for the
  24 proposition that a QMHP noted “[s]till reports of intermittent AH, last was 3 days
  25 ago. States he often hears multiple voices, both male and female when he is sleeping.
  26 He tried to talk to these voices but they will not answer him back.” Id. at 57. Plaintiffs
  27 omit that the individual was referred for a mental health follow up and was seen
  28 immediately the same day. See id. at 54-56. During the mental health follow up, the


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    1 QMHP noted that the patient denied suicidal ideation, intent or plan, denied
    2 perceptual distortions, that he was alert and oriented and that his thought process
    3 was linear. See id. at 55. The QMHP noted that the patient exhibits increased
    4 hyperactivity, poor impulse, agitation, and inattention since being off his prior
    5 medication. As a result, the QMHP resumed the medication. See id.
    6        Finally, Plaintiffs argue that ICE’s failure “to identify an individual who
    7 attempted suicide the day before as exhibiting active suicidal ideation or behavior
    8 simply because he is not actively experiencing suicidal thoughts at the exact moment
    9 of the QMHP encounter makes a mockery of the class criteria. That is not and cannot
  10 be the standard.” ECF Dkt. Nos. 1063 at 5-6. Plaintiffs omit, however, that it was
  11 the individual who himself reported that he ingested 10-15 unknown white-egg-
  12 shaped pills that he found on the walk when he was at the pill window. See ECF Dkt.
  13 No. 1060-4 at 176. ICE disputes the truth of that allegation. But, ICE’s follow-up
  14 following the individual’s placement on constant watch shows that the individual
  15 denied any suicidal thoughts or plans at present, and that the individual told the
  16 QMHP that he was upset after receiving a letter from ICE stating that he will be
  17 deported to Mexico. See id. at 172. The QMHP found that the individual showed no
  18 current thoughts of suicidal, suicidal intent or suicidal plan, although he noted
  19 feelings of hopelessness and helplessness and fear. See id. at 173. However, the
  20 QMHP also found protective factors in place, such as reasons for living, denial of
  21 suicidal ideations presently, future orientation, supportive family relationships and
  22 willingness to engage in mental health treatment. See id. The QMHP also found the
  23 individual to be in control, oriented, attentive, with fair insight, judgment, and “fair”
  24 anger control. See id. at 173. The individual was evaluated again by a QMHP on
  25 August 20, 2017, and he denied any suicidal thoughts or plans and stated that he
  26 wanted to go back to his prior room. See id. at 159. The QMHP found he was
  27 oriented, had a controlled affect, stable, with fair insight and judgment and
  28 appropriate thought process/content. See id. at 160. The QMHP assessed the


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    1 individual on August 22, 2017. See id. at 140-41. He again denied suicidal thoughts,
    2 intent or plan. See id. at 140. He denied feelings of hopelessness/helplessness. See
    3 id. at 141. The QMHP found him to be oriented, cooperative but irritated attitude,
    4 with fair insight and judgment and no current suicidality. See id.
    5     B. Discussion Regarding XXX-XXX-683.
    6        Contrary to Plaintiffs’ allegations, neither a prior schizophrenia diagnosis nor
    7 a current diagnosis alone meet the Franco criteria for a serious mental health
    8 condition/disorder, and while the medical records cited by Plaintiffs indicate that the
    9 patient reported or endorsed auditory hallucinations in the past, there is no evidence
  10 that the QMHP determined in the QMHP’s professional judgment that the patient
  11 was exhibiting active hallucinations. Notably, given the fluidity of mental
  12 competency and the nuanced nature of suicidal ideation and behavior, a QMHP may
  13 require multiple MHA sessions assessing the patient before being able to determine
  14 that a patient is actually exhibiting suicidal ideation and/or behavior that would meet
  15 the medical definition of the class definition.
  16         Plaintiffs’ reply relies on Defendants’ medical records to argue that this
  17 individual’s class identification was delayed because he told a QMHP on March 31,
  18 2019 that, “I have schizophrenia and need to get back on my medications,” explained
  19 that he had been diagnosed with schizophrenia two months earlier while in criminal
  20 custody and reported actively hearing voices on at least four occasions. See ECF
  21 Dkt. No. 1060-32 at 73, 70, 72, 65, 64, 63. Plaintiffs also cite to this individual’s
  22 record for the proposition that he reported constant thoughts of harming himself, and
  23 that he was placed on constant watch on March 31, 2019 after a QMHP found that
  24 he was experiencing “current suicidal ideations.” See id. at 73.
  25         Plaintiffs omit that while the individual was referred for a mental health
  26 assessment after reporting having heard voices in the past, see ECF Dkt. No. 1060-
  27 35 at 1-2, the individual did not report nor did the QMHP find that he was exhibiting
  28 active hallucinations. See ECF Dkt. No. 1060-32 at 76-77. Plaintiffs also omit that


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    1 on April 1, 2019, the QMHP found that the individual was alert and oriented, his
    2 thought process was goal-oriented and demonstrated the appropriate insight. See id.
    3 at 69-70. Again on April 2, 2019, the individual denied any current auditory
    4 hallucinations or suicidal thoughts and the QMHP observed he was alert and
    5 oriented, was cooperative with the interview and had a goal-directed thought
    6 process. See id. at 66-68. The QMHP found no evidence of internal stimuli or
    7 symptoms of psychosis, and that he was free of self-injurious behaviors. See id. The
    8 QMHP concluded there was no evidence that he suffered from a major mental illness
    9 at that time. See id. The QMHPs continued to evaluate the patient on multiple
   10 occasions to confirm a diagnosis during the first three weeks of April 2019. During
   11 this time, the patient was briefly subjected to mental health observation after
   12 reporting auditory hallucinations “telling him to harm his cellies.” See id. at 64.
   13 However, during these evaluations, the QMPHs did not determine that the patient
   14 was experiencing active auditory hallucinations or significant symptoms of
   15 psychosis. See id. at 66-74. On April 17, 2019, the QMHP diagnosed him with
   16 psychosis, atypical and prescribed Risperdal for treatment of auditory hallucinations.
   17 See id. at 55-60.
   18        Finally, Plaintiffs assert that ICE did not file a Franco notice until May 7, 2019
   19 after the individual filed a pro se motion for a judicial competency inquiry. However,
   20 ICE timely filed a Franco notice on May 7, 2019 after the Immigration Judge decided
   21 to set the case for a JCI on May 6, 2019 in immigration court. See ECF Dkt. No.
   22 1060-37, at 6-73.
   23     C. Discussion Regarding XXX-XXX-524.
   24        Contrary to Plaintiffs’ allegations, even a QMHP’s own diagnosis alone is not
   25 sufficient for class membership. Plaintiffs’ reply relies on Defendants’ medical
   26 records to show that the QMHP diagnosed this individual with bipolar disorder and
   27 observed that she was displaying “a depressed and anxious mood,” ECF Dkt. No.
   28 1060-5 at 85-86, and noted that the individual had been admitted to psychiatric


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    1 hospitals twice, had three suicide attempts, and was worried to be off her meds, see
    2 id. at 84-85. However, neither a prior nor a current schizophrenia diagnosis alone
    3 meet the Franco criteria for a serious mental health condition/ disorder.
    4        Plaintiffs rely on a screener’s response of “yes” to the question “Is the patient
    5 exhibiting symptoms of a serious mental disorder or symptom of cognitive
    6 impairment?” at the individual’s October 17, 2018 screening, to argue that she
    7 should have been identified as a class member then. See id. at 80. However, Plaintiffs
    8 omit that subsequent mental health assessments fail to establish that a QMHP found
    9 anything other than the individual displayed a “depressed and anxious” mood.
   10 Indeed, other than the yes response at screening, there is no evidence that a QMHP
   11 determined she was suffering “marked anxiety” or “severe depressive symptoms” or
   12 that her “depressed and anxious” mood rose to the level of “significant symptoms of
   13 her alleged bipolar disorder,” to qualify as a class member under the Implementation
   14 Plan Order. See ECF Dkt. No. 786 at 7. Similarly, although a screener also found on
   15 October 17, 2018, that a head injury at age 8 left the individual unable to “read and
   16 write and comprehend the written language,” ECF 1060-5 at 79, there is no
   17 indication determined that the individual had either a mental disorder that is causing
   18 serious limitations in communication, memory or general mental and/or intellectual
   19 functioning (e.g., communicating, reasoning, conducting activities of daily living,
   20 social skills); or a severe medical condition(s) (e.g., traumatic brain injury or
   21 dementia) that is significantly impairing mental function. See ECF Dkt. No. 786 at
   22 7.
   23      D. Discussion Regarding XXX-XXX-259.
   24        Plaintiffs’ reply alleges that this individual should have been identified as a
   25 class member when, on June 27, 2018, and July 11, 2018, a QMHP found that he
   26 was “currently exhibiting symptoms of a serious mental disorder or condition,”
   27 diagnosed him with schizophrenia, and found that he was hearing voices. See ECF
   28 Dkt. Nos. 1060-34 at 1-2 and 1060-31 at 41.


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    1        First, neither a history nor a current diagnosis of schizophrenia alone
    2 constitute a serious mental disorder or condition for class membership. See ECF Dkt.
    3 No. 786 at 7. Rather, the applicable section of the Implementation Plan Order
    4 requires that a QMHP “diagnose[] the detainee as demonstrating significant
    5 symptoms of (3) schizophrenia,” to qualify as a class member. Second, as in the prior
    6 case, that an initial or 14-day screening results in a “yes” response to the question
    7 whether the detainee is currently exhibiting symptoms of a serious mental disorder
    8 or condition, is not itself determinative of class membership. Nor is reporting that
    9 an individual is hearing voices automatically considered a significant symptom of
   10 schizophrenia sufficient to trigger class membership. Notably, Plaintiff omits that
   11 although the QMHP reported on June 27, 2018, that the patient continued to hear
   12 voices “although not at the point in time” and that he heard voices last week, and
   13 heard voices last week, see ECF Dkt. No. 1060-34 at 1-2, there is no indication that
   14 the QMHP determined, in his or her professional opinion, that the individual was
   15 experiencing active hallucinations. See id. Moreover, while a licensed clinical social
   16 worker marked “yes” to the question, “Is the detainee currently exhibiting symptoms
   17 of serious mental disorder or condition?” another QMHP conducting his 14-day
   18 screening the same day determined that the individual was not. See id. at 1-2, 3-5.
   19 Third, while a QMHP noted on July 11, 2018, that the individual reported “hearing
   20 voices from time to time” there is no evidence that the QMHP determined that the
   21 individual was exhibiting active hallucinations. The QHMP further found on July
   22 11, 2018, that the individual was oriented, found his thought content was orderly and
   23 goal-directed and he did not express any delusional thought content. See ECF Dkt.
   24 No. 1060-31 at 41.
   25     E. Discussion Regarding XXX-XXX-110.
   26        Plaintiffs’ reply alleges that this individual should have been identified as a
   27 class member when, as early as June 29, 2018, a QMHP noted that she was
   28 “currently exhibiting symptoms of a serious mental disorder or condition” and that


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    1 she had “borderline intellectual functioning” level of intelligence. See ECF Dkt. No.
    2 1060-3 at 49. At that screening, the QMHP found that this individual “could not
    3 coherently explain her immigration status,” and “presents in a confusing and self-
    4 contradictory manner that continues the difficulty of understanding her history and
    5 current circumstances.” Id. at 47.
    6         Plaintiffs omit, however, that “borderline intellectual functioning,” does not
    7 necessarily meet the medical criteria for class membership, and that the QMHP
    8 assessed this individual as having only mild intellectual disabilities. Id. at 49. This
    9 does not meet the medical criteria for class membership because it is not moderate,
   10 severe or profound in nature, or other criteria because there is no support for finding
   11 that the individual has a mental disorder that “is causing serious limitations in
   12 communication, memory or general mental and/or intellectual functioning.” See
   13 ECF Dkt. No. 786 at 7. As previously discussed, that an initial or 14-day screening
   14 results in a “yes” response to the question “Is the patient exhibiting symptoms of a
   15 serious mental disorder or symptom of cognitive impairment?” does not mean the
   16 QMHP found that the individual met the criteria for class membership. Similarly,
   17 while the QMHP found that the individual “could not coherently explain her
   18 immigration status,” and “presents in a confusing and self-contradictory manner than
   19 continues the difficulty of understanding her history and current circumstances,” see
   20 ECF Dkt. No. 1060-3 at 47, the QMHP is not charged with conducting a forensic
   21 competency evaluation or determining competency. While these findings may be
   22 relevant to an individual’s diagnosis and treatment, there is no evidence that the
   23 QMHP determined that the patient met the definition for a serious mental disorder
   24 or condition, or other grounds for class membership. Finally, evidence of prior
   25 diagnoses, psychiatric hospitalization, and prescriptions, while relevant to assessing
   26 an individual’s current condition and treatment, see id. at 44, do not on their own
   27 form a basis for class membership.
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    1     F. Discussion Regarding XXX-XXX-689.
    2         Plaintiffs’ reply contends that this individual met the definition of a serious
    3 mental disorder or condition because the QMHP observed on June 3, 2019, that he
    4 reported pressure in his head and efforts to “determine what is the voice of God and
    5 what is not.” See ECF Dkt. No. 1060-2 at 10-11. Plaintiffs assert that these symptoms
    6 alone establish class membership because they constitute “active hallucinations or
    7 delusions.” Plaintiffs then openly question that the QMHP diagnosed him only with
    8 anxiety disorder and scheduled a follow up to “rule out” schizophrenia. Id. at 10-11.
    9 Plaintiffs omit that at the initial screening on June 3, 2019, the QMHP did not
   10 definitively determine that the individual was exhibiting active hallucinations, and
   11 instead observed him to be oriented, to have good attention, with a thought content
   12 within normal limits and “possible” voices, requiring further follow-up. See id. at
   13 11. The QMHP also answered “no” to the question of whether the patient currently
   14 is experiencing symptoms of serious mental disorder or condition. See id. The
   15 QMHP diagnosed him with anxiety disorder unspecified and referred him for a
   16 follow-up mental health assessment in 3-4 weeks. See id.
   17         Plaintiffs’ reply also contends that this individual reported at his second
   18 screening, on June 11, 2019, that the “voices are present all the time,” id. at 5, and
   19 argue that “the injunction requires a mental health assessment within 14 days after a
   20 screening has found indicia of class membership.” See ECF Dkt. Nos. 1063 & 66 at
   21 10. Plaintiffs omit, however that the individual reported that he learned a process
   22 and prays to god and knows that the voices are not real. See ECF Dkt. No. 1060-2 at
   23 5. Further, the QMHP observed that the individual was not disoriented, was not
   24 responding to internal stimuli, did not appear to be restless or distracted, manifested
   25 any delayed or non-response to questions and did not exhibit disorganized thoughts
   26 or behaviors. See id. at 7. The QMHP also answered “no” to the question of whether
   27 the patient is currently experiencing symptoms of a serious mental disorder or
   28 condition. See id. at 5. Finally, contrary to Plaintiffs’ assertions, the mental health


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    1 assessment was timely performed on June 3, 2019 – prior to the fourteen-day
    2 screening. See id. at 9. Thus, again, this appears to be a case in which Plaintiffs are
    3 second-guessing the professional clinical judgment of the QMHPs, which is not
    4 contemplated by the Implementation Plan Order.
    5       G. Discussion Regarding XXX-XXX-536.
    6         Plaintiffs’ reply alleges that this individual should have be identified as a class
    7 member based on a diagnosis of schizophrenia and his reports of auditory and visual
    8 hallucinations. See ECF Dkt. No. 1060-39 at 11. As discussed previously, a
    9 diagnoses alone is not enough to establish class membership, rather, it must be
   10 accompanied by significant symptoms, and reports of hallucinations may not be
   11 sufficient to support a QMHP’s finding that an individual is experiencing active
   12 hallucinations. Indeed, Plaintiffs’ omit that, while this individual reported hearing
   13 voices in the past, a QMHP never determined that he was exhibiting active
   14 hallucinations or otherwise met the class definition. See ECF Dkt. No. 1060-39 at
   15 21, 23, 25, 28, 31, 33, 36, 37, 38. Rather, QMHPs in multiple assessments observed
   16 that the individual did not respond to internal stimuli and/or was not observed
   17 experiencing hallucinations or delusions during the interview, see id. at 7, 17, 20,
   18 26, 29, 31, 34, 37, 39, and that he was oriented, see id. at 15, 23, 25, 28, 29, 31, 34.
   19 37, 39.
   20       H. Discussion Regarding XXX-XXX-664.
   21         As Plaintiffs’ reply includes no new arguments or factual analysis, regarding
   22 this individual, Defendants rely on their prior arguments.
   23 II.     THE WELLS DECLARATION FAILS TO SUPPORT PLAINTIFFS’
   24         ARGUMENT THAT THERE IS A CHANGE IN ICE’S COMPLIANCE
   25         WITH THE IMPLEMENTATION PLAN ORDER.
              Plaintiffs rely on the newly filed declaration of Ms. Wells for her personal
   26
        opinion that “something has changed,” in how Defendants are approaching the
   27
        Franco injunction. See ECF Dkt. No. 1064 ¶ 9. The Court should give Ms. Wells’
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    1 declaration little weight. She is not a qualified mental health provider, and her
    2 declaration is based on her personal perceptions of nine cases over a three-year
    3 period, suggesting that the four more recent cases have had different results with
    4 regard to class membership determinations than five older cases. Defendants are
    5 unable to provide specific responses to Ms. Wells’ allegations given the lack of
    6 identifying information. But even assuming her factual allegations to be true, the fact
    7 that class identification in four recent cases is different than five previous cases
    8 cannot support a conclusion that there are significant questions regarding
    9 Defendants’ compliance. Indeed, ICE has confirmed that there have been no changes
   10 to the processes described at paragraph four of Ms. Wells’ declaration, and ICE’s
   11 Office of the Principal Legal Advisor (OPLA) in San Francisco uses a standard third-
   12 party information email address that they forward to the ICE facility when they
   13 receive information from a third-party. Notably, ICE OPLA does not determine
   14 whether someone should be identified as a Franco class member based on this
   15 information from a third party. Instead, as required by the Implementation Plan
   16 Order, ICE OPLA provides those third-party documents to the Immigration Judge if
   17 it is relevant and in their possession, and an Immigration Judge determines if a bona
   18 fide doubt finding is required. ICE notes, however, that pro bono organizations and
   19 attorneys usually provide those documents directly to the immigration court in some
   20 capacity, including as “friends of the court.”
   21
        Dated: January 6, 2020                         Respectfully submitted,
   22
   23                                                  /s/ Jeffrey S. Robins
                                                       JEFFREY S. ROBINS
   24
                                                       Deputy Director
   25                                                  United States Department of Justice
   26                                                  Office of Immigration Litigation
                                                       District Court Section
   27
   28                                                  Attorney for Defendants-Respondents


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